                     Case 18-01210-RBR           Doc 5      Filed 05/04/18      Page 1 of 1

                                      CERTIFICATE OF SERVICE                           ADV. CASE NO. 18-01210-RBR


I, Tarek Kiem (name), certify that service of this summons and a copy of the complaint
was made 5/4/2018 (date) by:

    X    Mail Service: Regular, first class United States mail, postage fully pre−paid, addressed to:
          Michelle Hazen, Co-Manager & Agent, Big Picture Loans, LLC
          E23970 Pow Wow Trail, Watersmeet, MI 49969

         Personal Service: By leaving the process with defendant or with an officer or agent of
         defendant at:




         Residence Service: By leaving the process with the following adult at:



         Certified Mail Service on an Insured Depository Institution: By sending the process by certified
         mail addressed to the following officer of the defendant at:




         Publication: The defendant was served as follows: [Describe briefly]



         State Law: The defendant was served pursuant to the laws of the State of
         ________________________, as follows: [Describe briefly]

If service was made by personal service, by residence service, or pursuant to state law, I further certify that
I am, and at all times during the service of process was, not less than 18 years of age and not a party to
the matter concerning which service of process was made.

Under penalty of perjury, I declare that the foregoing is true and correct.

         5/4/2018                                                          /S/ TAREK KIEM
Date: __________________________                 Signature: _______________________________________


                       Print Name:     TAREK KIEM, ESQ.

                                  8461 LAKE WORTH RD, STE 114
                       Address:

                       City:   LAKE WORTH         State:   FL       Zip:    33467
